Case 1:21-cv-23155-KMM Document 34 Entered on FLSD Docket 05/09/2022 Page 1 of 12




                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA

       TROY CLOWDUS,                                                Case No.: 1:21-cv-23155-KMM


                                      Plaintiff,


       v.


       AMERICAN AIRLINES, INC.,


                                       Defendant.


            DEFENDANT’S EXPEDITED MOTION FOR SANCTIONS PURSUANT TO
             RULE 30(d)(2) AND MEMORANDUM OF LAW IN SUPPORT THEREOF

            Pursuant to Fed. R. Civ. P. 30(d)(2), Defendant, American Airlines, (“Defendant” or

   “AA”), by and through undersigned counsel, hereby moves this Court to assess sanctions against

   Plaintiff, Troy Clowdus, (“Plaintiff” or “Clowdus”) and his counsel, based on their frustration of

   the fair examination of multiple, unrepresented witnesses. Defendant requests a ruling on this

   expedited motion prior to Friday, May 13, 2022, as Plaintiff intends to take the deposition of

   one of these unrepresented witness, Angelica Cookson, on that date,1 and Plaintiff’s counsel’s

   violative conduct described in the instant motion relates to that impending deposition.

            I.      PRELIMINARY STATEMENT

            1.      This lawsuit arises out of Plaintiff’s refusal to comply with a uniformed flight

   attendant’s repeated instructions for Plaintiff (a first-class passenger) to stow his carry-on bag in



   1
    On May 5, 2022, Plaintiff’s counsel forwarded to Defendant’s counsel a copy of what he represented as the Notice
   of Deposition for Ms. Cookson, with a date of intended deposition as May 13, 2022.
Case 1:21-cv-23155-KMM Document 34 Entered on FLSD Docket 05/09/2022 Page 2 of 12




   an overhead bin on an international flight (the “Flight”), Plaintiff’s subsequent assault of that flight

   attendant, and AA’s subsequent permanent suspension of Plaintiff’s flight privileges with AA.

           2.       On March 22, 2022, unrepresented, non-party, foreign national witness, Federico

   Quintana (“Quintana”), provided deposition testimony stating that he was a passenger on the

   Flight and observed what he perceived to be Plaintiff’s intentional assault Defendant’s flight

   attendant. Prior to and during Mr. Quintana’s deposition, Plaintiff’s counsel engaged in behavior

   far exceeding the bounds of professional conduct and intended to inhibit the fair examination Mr.

   Quintana. Specifically, prior to the deposition, Plaintiff’s counsel accused Mr. Quintana of

   dishonesty and offered his own negative opinions of Mr. Quintana’s credibility; during the

   deposition and thereafter, Mr. Quintana was threatened with and accused of perjury on multiple

   occasions, and to multiple parties and non-parties including Mr. Quintana’s mother. Such conduct

   violates Rule 30(d)(2) and prejudices Defendant.

           3.       Undeterred, Plaintiff’s counsel has now (contrary to Rule 30(d)(2)) turned his

   attention to threatening and intimidating Mr. Quintana’s mother (“Ms. Cookson”), as punishment

   for Mr. Quintana’s deposition testimony – explicitly emailing Ms. Cookson “your son brought this

   on you, not us…[since he] provided testimony against our client.” Ms. Cookson was not on the

   Flight and is not alleged to be involved in any aspect of the claims or defenses in this lawsuit.

   Instead, she purchased a “buddy pass” ticket for her son to travel on the Flight, utilizing her life

   time buddy pass flight benefits as the surviving widow of a deceased AA mechanic. Under the

   wildly speculative pretext of obtaining impeachment evidence against Mr. Quintana, Plaintiff’s

   counsel has served Ms. Cookson with a Deposition Duces Tecum Subpoena2 for the purpose of


   2
     Plaintiff’s counsel initially served Ms. Cookson with the subpoena for a deposition and document production to
   occur on April 25, 2022 – having never cleared this date with Ms. Cookson. Plaintiff’s counsel then agreed to
   reschedule the deposition to May 2, 2022 but did not advise Ms. Cookson that he was cancelling the deposition until
   58 minutes before it was to occur.

                                                           2
Case 1:21-cv-23155-KMM Document 34 Entered on FLSD Docket 05/09/2022 Page 3 of 12




   discovering what health insurance, credit union, pension and flight benefits she has with AA and

   whether Mr. Quintana discussed the lawsuit or his deposition testimony with Defendant.

              4.       Plaintiff’s counsel has: 1) accused Ms. Cookson (in writing) of failing to cooperate,

   “stonewalling” and intending to ignore the Deposition Duces Tecum Subpoena; 2) threatened her

   with contempt and other “legal trouble”; 3) stated that her son “was less than truthful in his

   deposition [which] has damaged our case”; 4) overtly stated that unless she produces the

   documents sought in the Deposition Duces Tecum Subpoena (regardless of whether she has

   anything responsive) Plaintiff’s counsel will subpoena her to appear “across town” for an in-person

   deposition when none of the other twelve deponents in this case have been required by Plaintiff’s

   counsel to appear for an in person deposition; and 5) “encouraged” Ms. Cookson to Google the

   “US legal system” lest she fail to comply with the Deposition Duces Tecum Subpoena. Notably,

   she has not failed (nor been required, as yet) to comply with any subpoena ever served upon her

   by Plaintiff’s counsel.

              5.       Based on the foregoing, Defendant respectfully requests that this Court enter an

   order imposing any measures it deems necessary and effective to address the conduct of Plaintiff’s

   counsel, pursuant to Rule 30(d)(2). Further, Defendant requests that this Court apply necessary

   measures to ensure that Plaintiff’s counsel can no longer inhibit and/or frustrate the fair

   examination of future witnesses and deponents, such as, for example, the appointment of a special

   magistrate to oversee Ms. Cookson’s deposition and all future communications3 between

   Plaintiff’s counsel and any witness in this lawsuit.

              II.      MEMORANDUM OF LAW

                       A. Legal Standard



   3
       Defense counsel need not be privy to those communications, in Plaintiff counsel’s discretion.

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Case 1:21-cv-23155-KMM Document 34 Entered on FLSD Docket 05/09/2022 Page 4 of 12




          6.      Fed. R. Civ. P. 30(d)(2) provides that “the court may impose an appropriate

   sanction—including the reasonable expenses and attorney’s incurred by a party—on a person who

   impedes, delays, or frustrates the fair examination of the deponent.” Rule 30(d)(2) authorizes this

   Court to, among other things, impose the cost resulting from obstructive tactics, unprofessional

   conduct, and threatening behavior. See Horton v. Maersk Line, Ltd., 294 F.R.D. 690, 697 (S.D.

   Ga. 2013); Mechanical Marketing Inc. v. Sixxon Precision Machinery Co., 2013 WL 1563251 at

   *2 (N.D. Cal. 2013); Plaquemines Holdings, LLC v. CHS, Inc., 2013 WL 1526894 at *2 (E.D. La.

   2013). The movant need only identify the language or behavior that “impeded, delayed, or

   frustrated the fair examination of the deponent” and identify “an appropriate sanction.” Dunn v.

   Wal-Mart Stores, Inc., 2013 WL 5940099, at *5 (D. Nev. 2013). While courts will sometimes

   consider whether misconduct was undertaken in bad faith, bad faith is not a requirement for the

   imposition of sanctions under Rule 30(d)(2). Hylton v. Anytime Towing, 2012 WL 3562398, at *2

   (S.D. Cal. Aug. 17, 2012); Layne Christensen Co. v. Bro-Tech Corp., No. 09-2381-JWL-GLR,

   2011 WL 6934112, at *2 (D. Kan. Dec. 30, 2011) (holding that Rule 30(d)(2) does not require a

   finding of bad faith before sanctions may be imposed).

          7.      In Horton, for example, the Court found good cause under Rule 30(d)(2) to

   “muzzle” an attorney who “frustrated the fair examination” of a witness by threatening the witness

   with criminal charges (“one reminder that the laws of perjury apply is quite enough”) and

   peppering the witness with “arrogant, irrelevant, accusatory questions and caustic comments” that

   “no witness, let alone a young man with no legal training, should have to endure.” 294 F.R.D. at

   697. Further, the Court found that the “abusive” practices of the attorney, which violated ethical

   and professional norms of the jurisdiction, provided “ample public policy grounds” to “give

   standing to a party, whose claims or defenses may well be adversely impacted as a result.” Id.



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Case 1:21-cv-23155-KMM Document 34 Entered on FLSD Docket 05/09/2022 Page 5 of 12




              8.       Plaintiff’s counsel’s conduct here resembles that of the attorney engaging in “dog-

   attack tactics” in Horton. The Court should likewise “muzzle” Plaintiff’s counsel from future

   tactics designed to frustrate the fair examination of witnesses and unjustly prejudice Defendant’s

   case. See Horton, 294 F.R.D. at 699 (Court “muzzled” abusive lawyer and instructed the lawyer

   to cease “threatening [witness] with prosecution for perjury”; cease providing opinion narrative

   regarding the witness’s testimony; and demanding that the witness be “shown respect”).

                       B. Counsel’s Professional Obligations upon Pro Hac Vice Appearance

              9.       In filing his Motion to Appear Pro Hac Vice [DE 7], Plaintiff’s counsel certified

   that he had “studied the Local Rules of the United States District Court for the Southern District

   of Florida[.]”

              10.      Plaintiff’s counsel therefore certified that he had read and studied the portion of the

   Rules regulating the professional conduct of attorneys practicing in this District. Local Rule

   11.1(b) specifically states that “the standards of professional conduct of members of the Bar of

   this Court shall include the current Rules Regulating The Florida Bar” and that for any “violation

   of any of these canons in connection with any matter pending before this Court, an attorney shall

   be subjected to appropriate disciplinary action.”

              11.      Chapter 4 of the Rules Regulating the Florida Bar (“Florida Bar Rules”) governs

   the Rules of Professional Conduct and Lawyer’s Responsibilities. Within Chapter 4’s Preamble,

   it is stated that a “lawyer should use the law’s procedures only for legitimate purposes and not to

   harass or intimidate others.”4 The Florida Bar Rules also state that an attorney must not “threaten

   to present criminal charges solely to obtain an advantage in a civil matter,”5 and, with respect to

   third persons, “a lawyer may not use means that have no substantial purpose other than to


   4
       See Florida Bar Rules Chapter 4 at Preamble.
   5
       See Rule 4-3.4(g).

                                                         5
Case 1:21-cv-23155-KMM Document 34 Entered on FLSD Docket 05/09/2022 Page 6 of 12




   embarrass, delay, or burden a third person or knowingly use methods of obtaining evidence that

   violate the legal rights of such a person.”6

           12.      By filing his Motion to Appear Pro Hac Vice, Plaintiff’s counsel certified that he

   had read and understood the regulations, such as those obligations stated in the foregoing

   paragraph, governing his professional conduct in this District.

                         C. Plaintiff’s Counsel’s Unprofessional Conduct Related to Quintana

           13.      Since discovering that Mr. Quintana’s testimony was/is “damaging to his client’s

   case,” Plaintiff’s counsel has embarked on a campaign of conduct violative of the rules regulating

   attorneys in this District and frustrating of the fair examination of this vital witnesses.

           14.      First, starting with his preliminary email correspondence with Mr. Quintana (an

   unrepresented, non-party, foreign national), Plaintiff’s counsel engaged in a series of threatening,

   accusatory, and caustic tactics, meant to intimidate a future deponent and frustrate his fair

   examination by Defendant.7

           15.      For example, counsel’s email to Mr. Quintana explicitly disparages Defendant’s

   counsel by stating that AA is engaging in “bullying tactics” for taking the legitimate position

   (which is supported by this Court)8 that witness statements taken in anticipation of litigation are

   protected work product.9

           16.      Counsel’s email then directs a series of improper personal opinions about Mr.

   Quintana’s anticipated testimony and about his credibility. By way of example, counsel states that

   he does not believe Quintana has any probative contribution to make to the case (despite what



   6
     See Rule 4-4.4(a).
   7
     See Plaintiff’s correspondence to Federico Quintana of March 9, 2022, (“Quintana email”) attached hereto as
   Exhibit A.
   8
     See Bridgewater v. Carnival Corp., 286 F.R.D. 636, 644 (S.D. Fla. 2011) (“A witness statement taken by a party’s
   attorney or agent in anticipation of litigation is protected work product.”)
   9
     See Quintana email.

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Case 1:21-cv-23155-KMM Document 34 Entered on FLSD Docket 05/09/2022 Page 7 of 12




   Quintana had informed AA) because he (personally) does not believe that from Quintana’s

   “position in Seat 4A you [Quintana] could have observed much of value.” The only reasonable

   interpretation of such remarks (which are strictly prohibited in trial by Rule 4-3.4(e)) is that they

   were intended to influence Quintana’s upcoming testimony, which Plaintiff’s counsel admittedly

   anticipated as potentially damaging to his client’s case.

              17.      Finally, in conjunction with these remarks disparaging Defendant’s counsel and

   improperly opining on Quintana’s credibility/testimony, counsel’s email closes with multiple

   threats (both veiled and direct) directed at Quintana. Specifically, Plaintiff’s counsel remarks in

   italics that he has “no desire to make your [Quintana’s] life miserable by subpoenaing you for a

   deposition” and that, if Quintana complies with his demands, it will be “far less of an

   inconvenience to you [Quintana].”10 The implication of these remarks, of course, is that if

   Quintana failed to testify/comply as Plaintiff sees fit, counsel would in turn “inconvenience”

   Quintana and “make [his] life miserable.”

              18.      This is precisely the sort of conduct that the rules regulating this District and Fed.

   R. Civ. P. 30(d)(2) seek to prevent. Plaintiff counsel’s remarks, in anticipation of extracting

   favorable or heading off unfavorable testimony from Quintana, were meant to intimidate Mr.

   Quintana and frustrate his fair examination, simply because he perceived Mr. Quintana was

   prepared to provide testimony harmful to Plaintiff’s claims. Plaintiff counsel’s pre-deposition

   communications had the desired effect on Mr. Quintana, as he stated during his deposition that he

   felt threatened/intimidated by Plaintiff’s counsel—prior to even having the opportunity to so

   testify.11




   10
        Id.
   11
        See excerpts from Deposition of Federico Quintana, (“Quintana Deposition”), 22:1-7, attached as Exhibit B.

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Case 1:21-cv-23155-KMM Document 34 Entered on FLSD Docket 05/09/2022 Page 8 of 12




           19.      Plaintiff’s counsel continued the intimidating tactics that colored his pre-deposition

   communication during Mr. Quintana’s deposition. Specifically, after Mr. Quintana testified to

   observing the assault, Plaintiff’s counsel threatened Mr. Quintana with accusations of perjury by

   stating that he desired to “make you [Quintana] aware that perjury comes with a penalty of

   up to five years in jail and it is a felony . . .”12 Plaintiff’s counsel then proceeded into a prolonged

   line of inquiry where, among other things, he accused Mr. Quintana (a foreign national) of being

   unreasonable for feeling threatened or accused him of dishonesty prior to his deposition.13 In

   response, Mr. Quintana testified that he felt the questioning by Plaintiff’s counsel was “hostile”

   and stated “I [Quintana] don’t like the way you’re [Plaintiff’s counsel] speaking to me.”14

           20.      In summation, with regard to Mr. Quintana, the foregoing conduct displays multiple

   violations of Rule 30(d)(2) and the professional/ethical obligations assigned to attorneys in this

   District. Even more egregiously, the timing of this conduct—following the revelation of Mr.

   Quintana’s observations—supports the conclusion that Plaintiff’s counsel initiated this campaign

   because of his perception that Mr. Quintana’s testimony was damaging to his client’s case.15

   Plaintiff’s counsel’s actions against this unrepresented, non-party witness, were meant to

   intimidate Mr. Quintana, and Plaintiff’s counsel’s actions will continue to impact, frustrate, and

   delay these proceedings if they are not brought to an end.

           21.      Accordingly, pursuant to its inherent powers, this Court should assess sanctions on

   Plaintiff and his counsel for this violative conduct and take specific action necessary to prevent

   the continuation of these tactics with Mr. Quintana and future witnesses.




   12
      Id., 23:1-11.
   13
      Id., 31:1-43:22; 46:24-50:14.
   14
      Id., 52:5-7.
   15
      It bears mentioning that Plaintiff’s counsel has admitted as much in correspondence with Mr. Quintana’s mother,
   as will be discussed later in this brief.

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Case 1:21-cv-23155-KMM Document 34 Entered on FLSD Docket 05/09/2022 Page 9 of 12




                   D. Plaintiff’s Counsel’s Unprofessional Conduct Related to Ms. Cookson

           22.     Unfortunately for Mr. Quintana, Plaintiff’s punitive tactics did not and have not

   ceased following his deposition. Unsatisfied with the results of the foregoing tactics, Plaintiff’s

   counsel has doubled down on his efforts to intimidate and embarrass Mr. Quintana, this time

   through repeating the same tactics with his mother.

           23.     As stated above, during his deposition, Mr. Quintana stated that his deceased step-

   father (his mother’s former spouse) was a former employee (mechanic) of AA.16 For reasons

   unknown, Plaintiff’s counsel never followed up on this testimony for more details. Instead,

   Plaintiff’s counsel has targeted Ms. Cookson. He has sought to subpoena her for deposition and

   production of documents pertaining to her and her deceased spouse’s private financial and health

   information, solely for the speculative possibility that the documents might serve to show that Mr.

   Quintana perjured himself for an AA “buddy pass.” However, neither Ms. Cookson nor her

   deceased husband are alleged to have any connection to any claim or defense in this matter.

   Plaintiff’s counsel’s conduct therefore demonstrates not only a complete disregard for

   proportionality/scope of discovery, but it also demonstrates his continued disregard for his Rule

   30 and ethical/professional obligations.

           24.     Specifically, in his communications with Ms. Cookson (again, an unrepresented,

   non-party, non-witness), Plaintiff’s counsel has continued to use threats against Ms. Cookson and

   her son, Mr. Quintana, to intimidate and obtain an advantage over Defendant in this matter. For

   example, in a lengthy email to Ms. Cookson regarding his desire to depose her,17 Plaintiff’s counsel

   scolds Ms. Quintana and accuses her of not intending to “obey the subpoena” and demanding that



   16
    Quintana deposition, 27: 2-17.
   17
     See Plaintiff’s counsel’s correspondence to Angelica Cookson of May 2, 2022, (“Cookson email”) attached as
   Exhibit C.

                                                        9
Case 1:21-cv-23155-KMM Document 34 Entered on FLSD Docket 05/09/2022 Page 10 of 12




   she “not make that mistake.”18 As in his correspondence to Mr. Quintana, he suggests that he has

   “no desire to cause you [Cookson] legal trouble,” which suggests that indeed he will cause her

   “legal trouble” or create for her “an unpleasant experience” if she does not abide by his demands.19

   He then threatens her with “contempt by the Court”; he suggests that she “Google” some research

   on the “US legal system” to understand the severity of compliance with his subpoena; and he then

   again accuses Mr. Quintana of perjury. “We [Plaintiff and counsel] believe that your son was less

   than truthful in his deposition; it has damaged our case; and we would like to know why.”20

   Finally, he disparages her son, by blaming Mr. Quintana for his having to “inconvenience” her

   (“your son brought this on you, not us”).21 This is highly inappropriate communication to an

   unrepresented party that Plaintiff’s counsel intends to depose.

            25.      Indeed, this is precisely the type of conduct that Rule 30(d)(2) and the

   professional/ethical guidelines of this District were designed to prevent.22 Ms. Cookson should

   never have had to endure these attacks and the threats of criminal prosecution against her and her

   son. See Horton, 294 F.R.D. at 697. Further, Plaintiff’s counsel has engaged in these tactics of

   intimidation in conjunction with the aforementioned intrusive and inappropriate requests for

   disclosure of Ms. Cookson and her deceased spouse’s private health and financial information.23

   Neither Ms. Cookson nor her deceased husband have any involvement in any claim or defense in

   this matter, and none of these discovery requests have probative value—they are simply designed

   to embarrass and intimidate Mr. Quintana. Plaintiff’s counsel violated his ethical/professional


   18
      Id.
   19
      Id.
   20
      Id.
   21
      Id.
   22
      It bears mentioning that Plaintiff’s counsel sent this correspondence to Ms. Cookson one hour prior to her scheduled
   deposition, despite deciding to cancel this deposition three days prior—with no notice provided to Ms. Cookson. Upon
   receipt of this email, Ms. Cookson simply responded that she “had every intention to appear”, which Plaintiff’s counsel
   uncharitably labeled “a terse response” and a product of her “stone-walling” him. Id.
   23
      See Plaintiff’s Fifth Request for Production and Third Set of Interrogatories, attached as Exhibit D.

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Case 1:21-cv-23155-KMM Document 34 Entered on FLSD Docket 05/09/2022 Page 11 of 12




   obligations and also violated Rule 30(d)(2) by engaging in the foregoing tactics in preparation for

   Ms. Cookson’s anticipated deposition. Doing so necessarily frustrated her fair examination and

   further prejudiced Defendant.

          III.    CONCLUSION

          26.     Therefore, in conclusion, Defendant respectfully requests that this Honorable Court

   bring Plaintiff’s continued misconduct and abusive tactics to end and enter an order assessing

   sanctions against Plaintiff and counsel for same, including, but not limited to, the assessing upon

   Plaintiff the costs/expenses/fees that resulted from the conduct that frustrated these examinations

   and prompted the instant motion. Further, Defendant requests that this Court take action necessary

   to prevent the intimidation of witnesses by Plaintiff’s counsel, including the assignment of a

   special magistrate to oversee Ms. Cookson’s planned deposition and any future communication by

   Plaintiff’s counsel with Ms. Cookson, Mr. Quintana, or any unrepresented party.

                    CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7(a)(3)

          Undersigned counsel hereby certifies that he conferred with counsel for Plaintiff on May

   6, 2022, in an effort to resolve the issues presented in this Motion. In response, Plaintiff’s counsel

   stated that does not oppose Defendant’s counsel bringing the instant motion, and that he would be

   “more than happy” to have the Magistrate Judge review his communication with Quintana or

   Cookson, as he considers such communication as “professional an[d] cordial.”



   Dated: May 9, 2022




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Case 1:21-cv-23155-KMM Document 34 Entered on FLSD Docket 05/09/2022 Page 12 of 12




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                                    CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that on this the 9th of May 2022, a true and correct copy of the
   above and foregoing has been filed with the Clerk of Court using the CM/ECF system. I
   FURTHER CERTIFY that the foregoing document is being served this date, either via
   transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized
   manner of those counsel or parties who are not authorized to receive electronically Notices of
   Electronic filing on the counsel of record or pro se parties identified on the attached Service List.


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                                                    12
